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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


UNITED STATES OF AMERICA


                              Plaintiff

vs                                            Cr. No. 02-cr-80069
                                       HONORABLE PATRICK J. DUGGAN

RICHARD NORMAN ERANGEY


                       Defendant
________________________________/


                         ORDER FOR TRAVEL AND SUBSISTENCE EXPENSES



      Upon the application of Defendant, RICHARD NORMAN ERANGEY, for

round-trip travel and subsistence expenses, pursuant to 18 U.S.C.

Sec. 4285, and the Court being aware of Defendant's indigence;

      IT HEREBY IS ORDERED that the U.S. Marshal furnish Defendant

Richard Norman Erangey round-trip, non-custodial transportation from

Los Angeles, California to Detroit, Michigan on Monday, April 7,
2008, for purposes of appearing in court for a sentencing hearing on

April 8, 2008.



Entered:March 24, 2008                           s/Patrick J. Duggan
                                                 United States District Judge
